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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION


JERRALD SIMPSON                                                                         PLAINTIFF


VERSUS                                                                  NO.: 3:17CV7-MPM-JMV


HOME DEPOT U.S.A., INC.                                                                DEFENDANT


                    NOTICE OF RECEIPT OF ORIGINAL DEPOSITIONS

TO:    All Counsel of Record

       Pursuant to UNIFORM LOCAL RULE 5.3(B), notice is hereby given that I have received,

and will retain as the custodian thereof, the original of the following depositions:

       Deponents: Sharieka Wilson, Rodney McCraney, Adam Ammar, David Wayne Holloway,

Stephen Davidson, E. Andrew Gentry, Jr. and Brandy Lynn Carpenter.

       Taken at the instance of:      Jerrald Simpson, the Plaintiff

       Pursuant to UNIFORM LOCAL RULE 5.3(B), a copy of the cover sheets accompanying

these depositions are attached hereto as “Exhibits A- G.”

       This the 10th day of November, 2017.

                                              Respectfully submitted,

                                              WAIDE & ASSOCIATES, P.A.


                                              BY: /s/ Ron Woodruff
                                                     RON WOODRUFF
                                                     MS BAR NO.: 100391
       Case: 3:17-cv-00007-MPM-JMV Doc #: 34 Filed: 11/10/17 2 of 2 PageID #: 91




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Attorneys for Plaintiff




                                   CERTIFICATE OF SERVICE

       I, Ron L. Woodruff, attorney for Plaintiff, do hereby certify that I have this day electronically

filed the above and foregoing with the Clerk of the Court, utilizing the ECF system, which sent

notification of such filing to the following:


       Lindsay Thomas Dowdle, Esq.
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       DATED, this the 10th day of November, 2017.


                                                     /s/ Ron L. Woodruff
                                                     RON L. WOODRUFF
